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 6
                              UNITED STATES DISTRICT COURT
 7                           WESTERN DISTRICT OF WASHINGTON
                                       AT SEATTLE
 8
     UNITED STATES OF AMERICA,                            NO. CR06-26-RSL
 9
                                   Plaintiff,
10

11          v.                                            SUMMARY REPORT OF
                                                          U.S. MAGISTRATE JUDGE AS
12   GUTAMA JOTE DINKA,                                   TO ALLEGED VIOLATIONS
                                                          OF SUPERVISED RELEASE
13                                 Defendant.
14
            An evidentiary hearing on a petition for violation of supervised release was held before
15
     the undersigned Magistrate Judge on August 22, 2012. The United States was represented by
16
     Assistant United States Attorney Andrew Friedman, and the defendant by Ronald Ness.
17
            The defendant had been charged and convicted of Conspiracy to Distribute Cocaine
18
     Base, in violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(B), and 846. On or about March 30,
19
     2007, defendant was sentenced by the Honorable Robert S. Lasnik, to a term of 70 months in
20
     custody, to be followed by 5 years of supervised release.
21
            The conditions of supervised release included the requirements that the defendant
22
     comply with all local, state, and federal laws, and with the standard conditions. Special
23
     conditions imposed included, but were not limited to, participation in substance abuse and
24
     mental health program, financial disclosure, search and gang association prohibition.
25

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     SUMMARY REPORT OF U.S. MAGISTRATE
     JUDGE AS TO ALLEGED VIOLATIONS OF
     SUPERVISED RELEASE - 1
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 1          In a Petition for Warrant or Summons, dated July 12, 2012, U.S. Probation Officer

 2   Brian K. Facklam asserted the following violations by defendant of the conditions of his

 3   supervised release:

 4              1.      Committing the criminal offense of assault on or about December 4, 2011,
                        in violation of the general condition of supervision that he not commit
 5
                        another federal, state, or local crime.
 6
                2.      Committing the criminal offense of disorderly conduct on or about
 7                      December 4, 2011, in violation of the general condition of supervision that
                        he not commit another federal, state, or local crime.
 8
            On August 7, 2012, defendant made his initial appearance. The defendant was advised
 9
     the allegations and advised of his rights. On August 22, 2012, this matter came before the
10
     Court for an evidentiary hearing. Defendant admitted to violations 1 and 2.
11
            I therefore recommend that the Court find the defendant to have violated the terms and
12
     conditions of his supervised release as to violations 1 and 2, and that the Court conduct a
13
     hearing limited to disposition. A disposition hearing on this violation has been set before the
14
     Honorable Robert S. Lasnik on August 30, 2012, at 9:00 a.m.
15
            Pending a final determination by the Court, the defendant has been released, subject to
16
     supervision.
17
            DATED this 22nd day of August, 2012.
18

19                                                 A
                                                   JAMES P. DONOHUE
20
                                                   United States Magistrate Judge
21

22
     cc:    District Judge:                Honorable Robert S. Lasnik
23          AUSA:                          Andrew Friedman
            Defendant’s attorney:          Ronald Ness
24          Probation officer:             Brian K. Facklam
25

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     SUMMARY REPORT OF U.S. MAGISTRATE
     JUDGE AS TO ALLEGED VIOLATIONS OF
     SUPERVISED RELEASE - 2
